     Fill
      Casein this13-44127
                  information to identify
                                  Doc 126 the case:
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                                                                      Pg 1 of 4
     Debtor 1              VENITA DAVIDSON


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the: Eastern District of Missouri
                                                                                  (State)
     Case Number:          13-44127




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.

 Part 1:             Mortgage Information

                                                                                                            Court claim no. (if known):
 Name of creditor:                    US BANK TRUST NA TRUSTEE                                              20

 Last 4 digits of any number you use to identify the debtor's account                       4   2   7   9

 Property Address:                           1275 CHATEAU WOODS DR
                                             ST LOUIS, MO 63135




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                          Amount

 a. Allowed prepetition arrearage:                                                                                  (a)   $        9,961.12

     b. Prepetition arrearage paid by the trustee:                                                                  (b)   $        9,961.12

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):             (c)   $             -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)              (d)   $             -0-
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                             (e)   $             -0-

 f.       Postpetition arrearage paid by the trustee:                                                             + (f)   $             -0-

     g. Total. Add lines b, d, and f.                                                                               (g)   $        9,961.12


 Part 3:             Postpetition Mortgage Payment


 Check one

 ¨ Mortgage is paid through the trustee.
         Current monthly mortgage payment                                                                                 $
         The next postpetition payment is due on                  /    /
                                                              MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


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Debtor 1     VENITA DAVIDSON                                                   Case number (if known) 13-44127
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)



 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Diana S. Daugherty
                    Signature
                                                                                 Date      09/26/2018


 Trustee            Diana S. Daugherty

 Address            Standing Chapter 13 Trustee
                    P.O. Box 430908
                    St. Louis, MO 63143


 Contact phone      (314) 781-8100                                Email   trust33@ch13stl.com




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Debtor 1      VENITA DAVIDSON                                              Case number (if known) 13-44127
              Name




History Of Payments
Part 2 - b
Claim ID   Name                     Creditor Type             Date         Check #    Posting Description               Amount
3          MORTGAGE ONE CORP        Mortgage Arrearage        09/30/2013   1288913    Principal Paid                   1,491.95
3          CALIBER HOME LOANS INC   Mortgage Arrearage        12/31/2013   1296978    Principal Paid                   2,814.27
3          CALIBER HOME LOANS INC   Mortgage Arrearage        01/31/2014   1300110    Principal Paid                   1,817.24
3          CALIBER HOME LOANS INC   Mortgage Arrearage        03/31/2014   1306369    Principal Paid                     682.94
3          CALIBER HOME LOANS INC   Mortgage Arrearage        04/30/2014   1309523    Principal Paid                   2,085.63
3          CALIBER HOME LOANS INC   Mortgage Arrearage        05/31/2014   1312655    Principal Paid                   1,069.09
                                                                                            Total for Part 2 - b:      9,961.12




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Debtor 1     VENITA DAVIDSON                                          Case number (if known) 13-44127
             Name




                                        CERTIFICATE OF SERVICE
         I certify that a true and correct copy of the foregoing document was filed electronically on
     September 26, 2018, with the United States Bankruptcy Court, and has been served on the parties
     in interest via e-mail by the Court's CM/ECF System as listed on the Court's Electronic Mail
     Notice List.

          I certify that a true and correct copy of the foregoing document was filed electronically with
     the United States Bankruptcy Court, and has been served by Regular United States Mail Service,
     first class, postage fully pre-paid, addressed to those parties listed on the Court's Manual Notice
     List and listed below on September 26, 2018.

                                                          US BANK TRUST NA TRUSTEE
     VENITA DAVIDSON                                      323 5TH ST
     1275 CHATEAU WOODS DRIVE                             C/O SN SERVICING CORP
     FERGUSON, MO 63135                                   EUREKA, CA 95501


                                                        /s/ Diana S. Daugherty
                                                        Diana S. Daugherty, Chapter 13 Trustee




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